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             EXHIBIT 1



               Complaint




             EXHIBIT 1
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                          Mark R. Thierman, Nev. Bar No. 8285
                    2     mark@thiermanbuck.com
                          Joshua D. Buck, Nev. Bar No. 12187
                    3     josh@thiermanbuck.com                                             CASE NO: A-21-829354-C
                          Leah L. Jones, Nev. Bar No. 13161                                           Departmen. 2
                    4
                          leah@thiermanbuck.com
                    5     Joshua R. Hendrickson, Nev. Bar No. 12225
                          joshh@thiermanbuck.com
                    6     THIERMAN BUCK LLP
                          7287 Lakeside Drive
                    7
                          Reno, Nevada 89511
                    8     Tel. (775) 284-1500
                          Fax. (775) 703-5027
                    9
                   10     Christian Gabroy, Nev. Bar No. 8805
                          christian@gabroy.com
            r-     11     Kaine Messer, Nev. Bar No. 14240
            F,            kmesser@gabroy.com
            A ;2   12
V                         GABROY LAW OFFICES
                   13     The District at Green Valley Ranch
      oc
      (7'
                          170 South Green Valley Parkway, Suite 280
"FA
   z g 0 14               Henderson, Nevada 89012
r-
   08                     Tel. (702) 259-7777
r- V
     tri 15               Fax. (702) 259-7704
                   16     Attorneysfor Plaintiff and
                          the Putative Classes
                   17
                                                               DISTRICT COURT
                   18
                   19                                    CLARK COUNTY, NEVADA

                   20     ROBERT GARIBAY, on behalf of himself                Case No.:
                          and all others similarly situated,
                   21                                                         Dept. No.:
                   22                  Plaintiff,
                                                                              CLASS ACTION COMPLAINT
                                                                              (EXEMPT FROM ARBITRATION
                   23           vs.                                           PURSUANT TO NAR 5)
                   24                                                         1) Failure to Pay Wages for Rest Periods;
                          WYNDHAM VACATION OWNERSHIP
                          INC.; and DOES 1 through 50, inclusive,                and
                   25                                                         2) Failure to Timely Pay All Wages Due and
                                                                                 Owing in Violation of Nevada law.
                   26                  Defendant(s).
                                                                              LIEN REQUESTED PURSUANT TO NRS
                   27                                                         608.050
                   28                                                         JURY TRIAL DEMANDED


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                         1          COMES NOW Plaintiff ROBERT GARIBAY, on behalf of himself and all others

                         2   similarly situated and alleges the following:

                         3          All allegations in the Complaint are based upon information and belief except for those

                         4   allegations that pertain to the Plaintiff named herein and his counsel. Each allegation in the

                         5   Complaint either has evidentiary support or is likely to have evidentiary support after a reasonable

                         6   opportunity for further investigation and discovery.

                         7                                   JURISDICTION AND VENUE

                         8          1.      This Court has original jurisdiction over the state law claims alleged herein

                         9   because the amount in controversy exceeds $15,000 and a party seeking to recover unpaid wages

                        10   has a private right of action pursuant to the Nevada Constitution, Article 15 Section 16, and

               r- 1     11   Nevada Revised Statute ("NRS") sections 608.140, 608.018, and 608.020-.050. See Neville v.
               O


                    C   12   Eighth Judicial Dist., Terrible Herbst, Inc., 133 Nev. Adv. Op. 95 {Dec. 7, 2017), 406 P.3d 499

C.)            r.       13   (2017); HG Staffing. LLC, et al. v. Second Judicial District Court, Nevada Supreme Court Case
.CE; 7) >
        De          a
       tri Z            14   No. 79118 (May 7, 2020) ("In Neville v. Eight Judicial District Court, 133 Nev. 77, 406 P.3d 499

       c.1     4 g 15        (2017), we held, by necessary implication, the exhaustion of administrative remedies is not
gr i                    16   required before filing an unpaid-wage claim in district court."). Plaintiff has made a proper
               vJ
                        17   demand for wages due pursuant to NRS 608.140.
                    7-g
                     E 18            2.     Plaintiff also claims a private cause of action to foreclose a lien against the

                        19   property owner for wages due pursuant to NRS 608.050.

                        20           3.      Venue is proper in this Court because one or more of the Defendants named herein

                        21   maintains a principal place of business or otherwise is found in this judicial district and many of

                        22   the acts complained of herein occurred in Clark County, Nevada.

                        23                                               PARTIES

                        24           4.     Plaintiff ROBERT GARIBAY (hereinafter "Plaintiff' or "GARIBAY") is a

                        25   natural person who is and was a resident of the State of Nevada and was employed by Defendant

                        26   Wyndham Vacation Ownership Inc., as a non-exempt hourly employee from on or about

                        27   November 28, 2019 to on or about September 21, 2020.

                        28



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                        1              5.      Defendant WYNDHAM VACATION OWNERSHIP INC. is a foreign

                        2     corporation that conducts business in the state of Nevada and is an employer under NRS 608.011.
                        3     Defendant's agent of service is located at 8275 South Eastern Avenue #200, Las Vegas, NV,

                        4     89123.

                        5              6.      The Defendant named herein is the employer of the Plaintiff and all Nevada Class

                        6     Members alleged herein. The identity of DOES 1-50 is unknown at the time and the Complaint

                        7     will be amended at such time when the identities are known to Plaintiff. Plaintiff is informed and

                        8     believes that each Defendant sued herein as DOE is responsible in some manner for the acts,
                        9     omissions, or representations alleged herein and any reference to "Defendant," "Defendants," or
                 0
                       10     "Wyndham" herein shall mean "Defendants and each of them."
                 0

                       11                                       FACTUAL ALLEGATIONS
             O

             41 :a     12              7.      Defendant Wyndham Vacation Ownership Inc. operates as a club that provides

                       13     gaming,        lodging,    restaurant     and     leisure    services     worldwide.          See
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         z       ▪°.
                14            https ://www.bloomberg. com/profi le/c ompany/0634467D :US
    a       ,„
                                       8.      Plaintiff Garibay was employed by Defendant as a housekeeper/guest room
            N6g 15
         g4 4
•
                       16     attendant (hereinafter referred to as "housekeeper").

                 .5    17                    Wyndham's Housekeeping Piece Rate Compensation Plan/Policy

                 E     18              9.      Defendant required Plaintiff and all other similarly situated employees to record
                       19     their hours worked by clocking in/out of the timekeeping system by entering their employee

                       20     identification number.

                       21              10.    Although Defendant required Plaintiff and all other similarly situated employees

                       22     to record all their work hours, Defendant did not compensated Plaintiff and all other similarly

                       23     situated employees on an hourly basis when they performed housekeeping duties.

                       24              11.    Instead, Defendant paid Plaintiff and all other similarly situated employees on a

                       25     "piece rate" that was based on the number and type of rooms cleaned ("Housekeeping

                       26
                       27
                       28



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1    Compensation Plan/Policy"). For instance, in July 2020, Plaintiff was compensated the following

2    rates for the following room types cleanedl:

3
4                                 RATE        ROOM TYPE

5                                $13.80       Studio

6                                $17.55       One Bedroom

 7                               $25.08       Two Bedroom

8                                $32.59       Three Bedroom
 9                               $40.12       Two Bedroom Penthouse

10                               $43.88       Three Bedroom Penthouse
11
12          12.     A "piece rate" is defined as a "wage rate based on a unit of production." NAC

13   608.075. In other words, a piece rate is tied to the employee's output (here, for example, the

14   number and size of the rooms cleaned) and wages are earned only when the employee is actively
15   producing. Therefore, an employee who labors under a piece rate agreement is only compensated
16   for his/her productive work time.

17   Wyndham's Housekeeping Piece Rate Plan/Policy Does Not Compensate For Rest Periods

18          13.     Under Nevada law, rest periods are to be counted as hours worked. See NRS

19   6080.019 ("[R]est periods shall be counted as hours worked, for which there shall be no deduction

20   from wages.").
21          14.       Rest periods must be separately compensated in a piece-rate system. See. e.g.,
22   Armenta v. Osmose, Inc., 135 Cal.App.4th 314, 323, 37 Ca1.Rptr.3d 460 (2005) ((holding that
23   employers must pay employees for rest breaks separate and apart from the piece rate); Lopez

24   Demetrio v. Sakuma Bros. Farms, Inc., 355 P.3d 258, 261, 183 Wash.2d 649, 653 (2015) (same).
25

26                  On occasion, Plaintiff would not have any rooms to clean but Defendant required
27   him to perform non-housekeeping tasks. In theses instances, Plaintiff would be compensated an
     hourly rate. In July 2020, Plaintiff's hourly rate of pay for non-housekeeping tasks was $11.00
28   per hour.



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 1             15.    Under the Nevada's wage laws, employees must be compensated for each hour

 2     worked at either the legal minimum wage or the contractual hourly wage rate (or its equivalent).

 3             16.    A piece-rate compensation formula that does not compensate separately for rest

 4     periods does not comply with Nevada's wage laws.

 5             17.    Here, Wyndham's Houskeeping Compensation Plan/Policy only compensated

 6     Plaintiff and all other similarly situated employees for performing housekeeping activities—i.e.,

 7     the productive work of a housekeeper. Wyndham's Houskeeping Compensation Plan/Policy

 8     never separately compensated Plaintiff or any other similarly situated employee for the non-

 9     productive time of taking a legally mandated rest break. Accordingly, Wyndham's Houskeeping

10     Compensation Plan/Policy violates Nevada's wage laws.

11     Plaintiff and all putative Class Members Are Owed Minimum and/or Regular Rate Wages

12                          as a Result Wyndham's Failure to Pay for Rest Periods

13            18.     Nevada law requires that employers pay employees for rest periods according to

14     the following schedule:

15
                      Unless an employee is exempt pursuant to NRS 608.019, an
16                    employee that works at least 3 1/2 continuous hours is permitted:

17                    (a)      One 10-minute rest period if the employee works at least 3
                               1/2 continuous hours and less than 7 continuous hours;
18
                      (b)      Two 10-minute rest periods if the employee works at least 7
19                             continuous hours and less than 11 continuous hours;
                      (c)      Three 10-minute rest periods if the employee works at least
20                             11 continuous hours and less than 15 continuous hours; or
                      (d)      Four 10-minute rest periods if the employee works at least
21
                               15 continuous hours and less than 19 continuous hours.
22
       NAC 608.145.
23            19.     Plaintiff regularly worked a schedule from 10:00 a.m. to 6:00 p.m., five (5) to six
24
       (6) days a calendar week.2 Accordingly, Plaintiff worked approximately 8 hours per work shift.
25
26
27            2
                        Defendant required that Plaintiff and all other similarly situated employees record
28     all their hours that worked; accordingly, Defendant is in possession of the exact number of daily
       hours worked by Plaintiff and all members of the putative Class.


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                    1          20.     Based on NAC 608.145, Plaintiff was supposed to receive two (2) 10-minute paid
                   2    rest periods pursuant to his regular schedule.
                   3           21.     As set forth above concerning Wyndham's Housekeeping Piece Rate Plan/Policy,
                    4   Plaintiff never received paid rest breaks. Accordingly, Plaintiff is entitled to recover 20-minutes
                    5   of additional compensation, at his regular rate of pay or the minimum wage rate, for every shift
                    6   that he worked.
                    7                                 CLASS ACTION ALLEGATIONS
                    8          22.     Plaintiff realleges and incorporates by this reference all the paragraphs above in
                    9   this Complaint as though fully set forth herein.
                 3 10          23.     Plaintiff brings this action on behalf of himself and all other similarly situated
                   11   employees as both a collective action under the FLSA and a class action under Rule 23 of the
•           F,
            R.1    12   Federal Rules of Civil Procedure.

          Zt--- 5 13           24.     The Nevada Class is defined as "All piece rate paid housekeepers (or similar job
c)• i-4
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                8
          Zu.     14    title) employed by Defendant in the state of Nevada at any time within 3 years from the date of
                   15   filing this action until judgment."
            °A
                   16          25.     The Waiting Time Penalty Class is defined as "All Nevada Class and Nevada
                   17   Daily Overtime Class Members who are former employees."
                   18          26.     Class treatment is appropriate under Rule 23's class certification mechanism
                   19   because:
                   20                  A.      The Classes are Sufficiently Numerous: Upon information and belief,
                   21          Defendant employs, and has employed, in excess of 100 Nevada and Waiting Time
                   22          Penalty Class Members within the applicable time period. Because Defendant is legally
                   23          obligated to keep accurate payroll records, Plaintiff alleges that Defendant's records will
                   24           establish the members of these Classes as well as their numerosity.
                   25                  B.      Plaintiff's Claims are Typical to Those of Fellow Class Members: Each
                   26           Class Member is and was subject to the same practices, plans, or policies as Plaintiff: (1)
                   27           Whether Defendant's piece rate compensation plan/policy deprived Plaintiff and all other
                   28           similarly situated employees compensation for their legally mandated rest breaks; (2)



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                            1           Whether Plaintiff and members of the Waiting Time Penalty Class are entitled to waiting
                            2           time penalties for the failure to pay them minimum and/or regular rest period wages owed.
                            3                  C.       Common Questions of Law and Fact Exist: Common questions of law and
                            4           and fact exist and predominate as to Plaintiff and the Class Members, including, without
                            5           limitation: Whether Defendant's piece rate compensation plan/policy complied with
                            6          Nevada law with respect to paying wages for rest periods; and Whether Defendant failed
                            7           to pay Plaintiff and the Waiting Time Penalty Class Members all their wages due and
                            8          owing in violation of NRS 608.020-050.
                            9                  D.       Plaintiff is an Adequate Representative of the Class: Plaintiff will fairly
                      0
                           10          and adequately represent the interests of the Class because Plaintiff is a member of all the
                r—         11          Classes, he has issues of law and fact in common with all members of the Classes, and his
                O
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      ,t)             ra   12           interests are not antagonistic to Class members. Plaintiff and his counsel are aware of
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                f;
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                           13          their fiduciary responsibilities to Class Members and are determined to discharge those
 AO :2
     t      ) g 3
                w
g4 e        Zn             14          duties diligently by vigorously seeking the maximum possible recovery for Class
            0
                7
                .7 5 15                Members.
                ?-1
                                               E.       Predominance/Superior Mechanism: Class claims predominate and a class
                t, 0 16
                   t 17                action is superior to other available means for the fair and efficient adjudication of this
                      ,9 18            controversy. Each Class Member has been damaged and is entitled to recovery by reason
                           19          of Defendant's illegal policy and/or practice of failing to compensate its employees in
                           20          accordance with Nevada wage and hour law. The prosecution of individual remedies by
                           21          each Class Member will tend to establish inconsistent standards of conduct for Defendant
                           22          and result in the impairment of Class Members' rights and the disposition of their interest
                           23          through actions to which they were not parties.
                           24                                     FIRST CAUSE OF ACTION
                           25       Failure to Pay Minimum and/or Regular Rate Wages for Rest Periods in Violation of
                           26                                              Nevada law
                           27                       (On Behalf of Plaintiff and the Class Against Defendant)
                           28



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                                    1           27.     Plaintiffs re-allege and incorporate by reference all the paragraphs above in the
                                    2    Complaint as though fully set forth herein.
                                    3            28.    NRS 608.140 provides that an employee has a private right of action for unpaid
                                    4    wages: "Whenever a mechanic, artisan, miner, laborer, servant or employee shall have cause to
                                     5   bring suit for wages earned and due according to the terms of his or her employment, and shall
                                    6    establish by decision of the court or verdict of the jury that the amount for which he or she has
                                    7    brought suit is justly due, and that a demand has been made, in writing, at least 5 days before suit
                                    8    was brought, for a sum not to exceed the amount so found due, the court before which the case
                                    9    shall be tried shall allow to the Plaintiff a reasonable attorney fee, in addition to the amount found
                                    10   due for wages and penalties, to be taxed as costs of suit." Plaintiff has made a demand for unpaid

                          N g 11         wages upon Defendant pursuant to NRS 608.140, but satisfactory payment was not received.
                          O
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                    •     O -4 12                29.    NRS 608.016 states that "An employer shall pay to the employee wages for each

                    .     g         13   hour the employee works." Hours worked means any time the employer exercises "control or
                    •      g    g
                    :g Z r;"'       14   custody" over an employee. See NRS 608.011 (defining an "employer" as "every person having
                    •-4

                    N   Pt41 1g 15       control or custody . . . of any employee."). Pursuant to the Nevada Administrative Code, hours
                                    16   worked includes "all time worked by the employee at the direction of the employer, including
                                    17   time worked by the employee that is outside the scheduled hours of work of the employee." NAC
                                F 18     608.115(1).
                                    19           30.     Article 15 Section 16 of the Nevada Constitution sets forth the minimum wage
                                    20   requirements in the State of Nevada and further provides that "[t]he provisions of this section may
                                    21   not be waived by agreement between an individual employee and an employer. . . . An employee
                                    22   claiming violation of this section may bring an action against his or her employer in the courts of
                                    23   this State to enforce the provisions of this section and shall be entitled to all remedies available
                                    24   under the law or in equity appropriate to remedy any violation of this section, including but not
                                    25   limited to back pay, damages, reinstatement or injunctive relief. An employee who prevails in
                                    26   any action to enforce this section shall be awarded his or her reasonable attorney's fees and costs."
                                    27           31.     NRS 608.250 provides the following minimum wage rates to be paid, without
                                    28   discount, to all Nevada employees:



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                     1
                                   (a) Beginning July 1, 2019:
                     2                    (1) If the employer offers health benefits to the employee in
                                   the manner described in Section 16 of Article 15 of the Nevada
                     3             Constitution, $7.25 per hour worked.
                                          (2) If the employer does not offer health benefits to the
                     4
                                   employee in the manner described in Section 16 of Article 15 of the
                     5             Nevada Constitution, $8.25 per hour worked.

                     6            (b) Beginning July 1, 2020:
                                          (1) If the employer offers health benefits to the employee
                     7
                                  in the manner described in Section 16 of Article 15 of the Nevada
                    8             Constitution, $8.00 per hour worked.
                                          (2) If the employer does not offer health benefits to the
                    9             employee in the manner described in Section 16 of Article 15 of the
                   10             Nevada Constitution, $9.00 per hour worked.

                   11             (c) Beginning July 1, 2021:
                                          (1) If the employer offers health benefits to the employee
  ;                12             in the manner described in Section 16 of Article 15 of the Nevada
          ir7
  1=1 4-1 t•-•
     cps    13                    Constitution, $8.75 per hour worked.
4-,-7,>g s0                               (2) If the employer does not offer health benefits to the
d z o 14                          employee in the manner described in Section 16 of Article 15 of the
r        "                        Nevada Constitution, $9.75 per hour worked.
            15
                   16             (d) Beginning July 1, 2022:
          e.                              (1) If the employer offers health benefits to the employee
                   17             in the manner described in Section 16 of Article 15 of the Nevada
                                  Constitution, $9.50 per hour worked.
                 wE 18
                                          (2) If the employer does not offer health benefits to the
                   19             employee in the manner described in Section 16 of Article 15 of the
                                  Nevada Constitution, $10.50 per hour worked.
                   20
                                  (e) Beginning July 1, 2023:
                   21
                                          (1) If the employer offers health benefits to the employee
                   22             in the manner described in Section 16 of Article 15 of the Nevada
                                  Constitution, $10.25 per hour worked.
                   23                     (2) If the employer does not offer health benefits to the
                                  employee in the manner described in Section 16 of Article 15 of the
                   24
                                  Nevada Constitution, $11.25 per hour worked.
                   25
                                  (0 Beginning July 1, 2024:
                   26                      (1) If the employer offers health benefits to the employee
                                  in the manner described in Section 16 of Article 15 of the Nevada
                   27
                                  constitution, $11.00 per hour worked.
                   28



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                           (2) If the employer does not offer health benefits to the
 1
                    employee in the manner described in Section 16 of Article 15 of the
2                   Nevada Constitution, $12.00 per hour worked.

3
              32.   NRS 608.019(2), emphasis added, provides as follows:
4
                    Every employer shall authorize and permit all his or her
 5
                    employees to take rest periods, which, insofar as practicable,
6                   shall be in the middle of each work period. The duration of
                    the rest periods shall be based on the total hours worked
7                   daily at the rate of 10 minutes for each 4 hours or major
                    fraction thereof. Rest periods need not be authorized
8
                    however for employees whose total daily work time is less
 9                  than 3 and one-half hours. Authorized rest periods shall be
                    counted as hours worked, for which there shall be no
10                  deduction from wages.
11            33.   At all relevant times, NRS 608.019(2) was applicable to Plaintiff and all other
12   similarly situated employees' employment by Defendant.
13            34.   Under Nevada law, employers that use a piece-rate compensation system must
14   compensate employees separately for their rest periods. NRS 608.019(2). A piece-rate
15   compensation system that does not separately compensate employees for rest periods does not
16   comply with Nevada's wage laws. NRS 608.016; NAC 608.115.
17            35.   Wherefore. Plaintiff demands for himself and for the Nevada Class Members
18   payment by Defendant at the minimum and/or regular effective hourly rate of pay for rest break
19   hours that were supposed to have been paid during the relevant time period together with
20   attorneys' fees, costs, and interest as provided by law.
21                                   SECOND CAUSE OF ACTION
22                          Waiting Time Penalties Pursuant to Nevada Law
23         (On Behalf of Plaintiff and the Waiting Time Penalty Class Against Defendant)
24            36.   Plaintiff realleges and incorporates by this reference all the paragraphs above in
25   this Complaint as though fully set forth herein.
26            37.   NRS 608.140 provides that an employee has a private right of action for unpaid
27   wages.
28



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 1           38.     NRS 608.020 provides that "[w]henever an employer discharges an employee, the

 2   wages and compensation earned and unpaid at the time of such discharge shall become due and

 3   payable immediately."

 4           39.     NRS 608.040(1)(a-b), in relevant part, imposes a penalty on an employer who fails

 5   to pay a discharged or quitting employee: "Within 3 days after the wages or compensation of a

 6   discharged employee becomes due; or on the day the wages or compensation is due to an

 7   employee who resigns or quits, the wages or compensation of the employee continues at the same

 8   rate from the day the employee resigned, quit, or was discharged until paid for 30-days, whichever

 9   is less."

10           40.    NRS 608.050 grants an "employee lien" to each discharged or laid-off employee

11   for the purpose of collecting the wages or compensation owed to them "in the sum agreed upon

12   in the contract of employment for each day the employer is in default, until the employee is paid

13   in full, without rendering any service therefore; but the employee shall cease to draw such wages

14   or salary 30 days after such default."

15           41.    By failing to pay Plaintiff and the Waiting Time Penalty Class Members their

16   minimum and/or regular rest period wages in violation of state law, Defendant has failed to timely

17   remit all wages due and owing to Plaintiff and the Waiting Time Penalty Class Members.

18           42.    Despite demand, Defendant willfully refuses and continues to refuse to pay

19   Plaintiff and Waiting Time Penalty Class Members all the wages that were due and owing upon

20   the termination of their employment.

21           43.    Wherefore, Plaintiff and the Waiting Time Penalty Class Members demand thirty

22   (30) days of pay as waiting penalties under NRS 608.040 and 608.140, and thirty (30) days of

23   pay as waiting penalties under NRS 608.050 and 608.140, together with attorneys' fees, costs,

24   interest, and punitive damages, as provided by law.

25                                        PRAYER FOR RELIEF

26           Wherefore Plaintiff, by himself and on behalf of all Class Members, pray for relief as

27   follows relating to his collective and class action allegations:

28



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                       1       1.    For an order certifying this action as a class action on behalf the proposed Classes

                       2             and providing notice to all Class Members so they may participate in this lawsuit;
                       3       2.    For an order appointing Plaintiff as the Representative of the Classes and his

                       4             counsel as Class Counsel;

                       5       3.    For damages according to proof for minimum and/or regular rate wages pursuant

                       6             to the Nevada Constitution, NRS 608.250 cal. seq, and NRS 608.016, as a result of

                       7             failing to pay for rest periods pursuant to NRS 608.019;

                       8       4.    For waiting time penalties pursuant to NRS 608.040-.050 and 608.140;
                       9       5.    For a lien on the property where Plaintiff and all Class Members labored pursuant
               §
               .z 10                 to NRS 608.050;

           NI II               6.    For interest as provided by law at the maximum legal rate;
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           C...
                :,e,4,2 12     7.    For punitive damages;
     ;71 .
   .6 :-. 13                   8.    For reasonable attorneys' fees authorized by statute;
c;



4 6
., 1 z 1., ..8 14              9.    For costs of suit incurred herein;

;x1 A c4   4 q I5              10.   For pre judgment and post-judgment interest, as provided by law; and
EN         .,1 6
                     16        11.   For such other and further relief as the Court may deem just and proper.

               i 17

               riaE 18         DATED: February 11, 2021                    Respectfully Submitted,
                     19                                                    THIERMAN BUCK LLP

                     20
                                                                           /s/Joshua D. Buck
                     21
                                                                           Joshua D. Buck
                     22                                                    Mark R. Thierman
                                                                           Leah L. Jones
                     23                                                    Joshua R. Hendrickson
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